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Plaintiff(s), pro se

                     IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF ARIZONA

Trevor Reid,                                       | Case No. CV-22-00068-PHX-SMB
                                                   |
Crystale Reason                                    |
                                                   |
                  Plaintiffs                       |
                                                   | PLAINTIFFS’ JOINT RESPONSE
v.                                                 | TO SUBSTITUTED DEFENDANT
                                                   | UNITED STATES OF AMERICA’S
U.S. Department of the Interior, et al             | MOTION TO CONSOLIDATE
                                                   | AND EXTEND THE
                Defendants                         | RESPONSIVE PLEADING
                                                   | DEADLINE (FIRST)


         Plaintiffs Trevor Reid and Crystale Reason take no position for or against

defendant United States of America’s (United States) requested extension. In order to

more fully inform the Court, Plaintiffs state as follows:

      1. Plaintiffs agree with Defendant United States that a single pleading deadline

         furthers a just, expeditious resolution of this matter, whether extended or not.

      2. Plaintiffs concede that personal service was not perfected as to the three law

         enforcement officer defendants in their individual capacities. However, Plaintiffs

         also were not idle in this regard. Simultaneous with the certified mailings on April

         19th, 2022 indicated in the later Affidavit of Service (ECF Doc. 15, pp. 1-2),


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    Plaintiffs requested that the three individual Defendants waive service per

    Fed. R. Civ. P. 4(d). The materials required by the rule, including return postage,

    were mailed to the only known address Plaintiffs have for those Defendants —

    the park headquarters. To date no waivers have been received back.

 3. Plaintiffs have only recently learned the sad news that Defendant Justin P. Doyle

    is deceased.

 4. Plaintiffs are unable to serve John/Jane Doe Defendants, if any, until they are

    more precisely identified and located.

 5. On June 13th, 2022 Plaintiffs filed a notice of voluntary dismissal (ECF Doc. 18)

    as to non-FTCA claims against the unserved individual Defendants while

    maintaining all FTCA claims against the now substituted Defendant, United

    States, as well as maintaining all claims whatsoever against Defendants Justin P.

    Doyle, David Ballam and Cynthia Sirk-Fear in their official capacities as law

    enforcement officers of the United States.

 6. It appears to Plaintiffs that by operation of Plaintiffs’ Joint Notice Of Voluntary

    Dismissal Of Specified Claims As To Particular Individual Defendants (ECF Doc.

    18) all remaining identified Defendants have either been served per Fed. R. Civ. P.

    4(i)(1), (2) — i.e. by “[serving] the United States and also [sending] a copy of the

    summons and of the complaint by registered or certified mail to the agency,

    corporation, officer, or employee” — or substituted by a Defendant who has been

    so served. This is attested by the server’s affidavits (ECF Docs. 9 and 15).




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    Respectfully submitted this 13th day of June, 2022.

                                                 s/Trevor Reid,       plaintiff pro se

                                                 s/Crystale Reason,   plaintiff pro se




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                             CERTIFICATE OF SERVICE

           I certify that on June 13th, 2022 in addition to filing the foregoing

    document via CM/ECF I mailed a copy via first class mail to each of the

    following parties:

    United States of America
    United States Department of the Interior
    National Park Service:

    U.S. Attorney, ATTN: Noel Capps
    2 Renaissance Square
    40 N Central Ave., Ste. 1800
    Phoenix, AZ 85004-4408



    Justin P. Doyle
    David Ballam
    Cynthia Sirk-Fear:

    18100 Park Headquarters Road
    Triangle, VA 22172


                                                                 s/Crystale Reason




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